      Case 2:14-cv-02057-SMM        Document 133        Filed 11/13/15   Page 1 of 15




 1   Firm E-Mail: courtdocs@dickinsonwright.com
 2   David G. Bray (#014346)
     dbray@dickinsonwright.com
 3   Frank G. Long (#012245)
     flong@dickinsonwright.com
 4   Jonathan Batchelor (#026882)
     jbatchelor@dickinsonwright.com
 5   David N. Ferrucci (#027423)
     dferrucci@dickinsonwright.com
 6   DICKINSON WRIGHT, PLLC
     1850 North Central Avenue, Suite 1400
     Phoenix, Arizona 85004
 7   Phone: (602) 285-5000
     Fax: (602) 285-5100
 8
     Attorneys for Plaintiff and Counterdefendant
 9   VIP Products, L.L.C.

10
                        IN THE UNITED STATES DISTRICT COURT
11                                   DISTRICT OF ARIZONA
12
     VIP Products, L.L.C., an Arizona limited           No. 2:14-cv-02057-SMM
13   liability company,
                                                         PLAINTIFF’S MOTION TO
14                Plaintiff and Counterdefendant,        EXCLUDE DEFENDANT’S
                                                         BELATEDLY DISCLOSED
15         v.                                            SUPPLEMENTAL DECLARATION
                                                         OF ITAMAR SIMONSON AND
16                                                       EVIDENCE OFFERED BY PHILLIP
     Jack Daniel’s Properties, Inc., a Delaware          EPPS
17   corporation

18                Defendant and Counterclaimant.
19
           Plaintiff VIP Products (“VIP”) moves, pursuant to Rule 37 of the Federal Rules of
20

21   Civil Procedure, to exclude the declaration submitted by defendant Jack Daniels Properties,

22   Inc. (“JDPI”) in support of its Opposition to Motion to Exclude Testimony of Defendant’s

23   Expert Itamar Simonson (“Opposition”) (Doc. 96) and certain evidence in support of its
24
     Motion for Partial Summary Judgment (Doc. 101). The evidence and declarations provided
25
     in support of those motions—respectively, the Declaration of Itamar Simonson in Support of
26
27
                                                    1
      Case 2:14-cv-02057-SMM         Document 133        Filed 11/13/15   Page 2 of 15




     Defendant’s Opposition to Plaintiff’s Motion to Exclude Testimony of Itamar Simonson
 1

 2   (“Simonson Declaration”) (Doc. 97-1) and the evidence offered in the Declaration of Phillip

 3   Epps in Support of Motion for Partial Summary Judgment (“Epps Declaration”) (Doc.

 4   105)—contain untimely disclosures, either because they are information not previously
 5
     disclosed despite interrogatories and requests for production of documents that sought
 6
     disclosure during the discovery period, or because they were improperly submitted after the
 7
     discovery cut-off date.     The Federal Rules do not permit JDPI to introduce this new,
 8
     previously undisclosed information through the proverbial backdoor, as declarations attached
 9

10   to recent motions and responses. VIP respectfully requests that the Simonson Declaration in

11   and certain evidence in the Epps Declaration be excluded.
12   I.     Introduction
13
            JDPI has insisted on strict adherence to the disclosure deadlines. At the Telephonic
14
     Discovery Dispute Conference held in this case on August 31, 2015, this Court stated: “the
15
     deadlines are real.” See Transcript of Telephonic Discovery Dispute (“Transcript”) at 4:8, a
16
     copy of which is attached hereto as Exhibit 1. Counsel for JDPI emphatically agreed: “It’s
17

18   Jack Daniel’s position 100 percent with what the Court said”; “the Court’s Case Management

19   Order was clear that that the deadlines in this case are real.” See Transcript at 14:3-4, 17:17-
20   18.   On that basis, JDPI “vehemently object[ed]” to the disclosure of “four additional
21
     images” by VIP’s expert:
22
                   We had an opportunity to review this expert’s report. We deposed him on
23                 this report, and now it appears that VIP is attempting to supplement its
                   report with these images. Expert discovery, Your Honor, is closed at this
24                 point in addition to the fact discovery being closed. So Jack Daniel’s
25                 vehemently objects to the inclusion of these documents and any additional
                   supplementation of his report.
26
27
                                                     2
      Case 2:14-cv-02057-SMM        Document 133        Filed 11/13/15   Page 3 of 15




 1   See Transcript at 14:4-10.
 2
            Yet, incredibly, JDPI has twice, since the close of discovery, filed with the Court
 3
     declarations that are untimely because they supplement either previously disclosed expert
 4
     testimony or interrogatory answers and document productions—all without any notice or
 5

 6   request for special relief. In support of its Opposition (Doc. 96), JDPI did precisely what it

 7   “vehemently object[ed]” to at the Telephonic Discovery Dispute Conference: introduce

 8   additional supplementation of its expert’s testimony. JDPI did not move to modify this
 9
     court’s orders or for relief under the Federal Rules of Civil Procedure; it simply filed the
10
     supplemental Simonson Declaration without acknowledging its novelty or attempting to
11
     establish “good cause,” as required by Rule 16(b)(4), or “substantial justify[cation]” or
12
     “harmless[ness],” as required by Rule 37(c)(1). This court should reject any eleventh-hour
13

14   attempts to do so now. See Wong v. Regents of Univ. of California, 410 F.3d 1052, 1060-62

15   (9th Cir. 2005) (affirming exclusion of expert witnesses disclosed for first time in opposition
16   to summary judgment); Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106-
17
     07 (9th Cir. 2001) (affirming exclusion of untimely expert disclosure); Quevedo v. Trans-
18
     Pac. Shipping, Inc., 143 F.3d 1255, 1258 (9th Cir. 1998) (affirming exclusion of expert
19
     testimony disclosed for first time in response to summary judgment motion); Luke v. Family
20

21   Care & Urgent Med. Clinics, 323 F. App’x 496, 498-99 (9th Cir. 2009) (unpublished)

22   (same).

23          Similarly, and even more egregiously, JDPI submitted in the Epps Declaration new
24   evidence that had been requested by VIP during discovery but never revealed by JDPI. In
25
     support of its partial motion for summary judgment, JDPI introduced, without notice or
26
27
                                                    3
      Case 2:14-cv-02057-SMM       Document 133       Filed 11/13/15   Page 4 of 15




     excuse, factual information about JDPI’s evidence of “consumer awareness” that had been
 1

 2   expressly requested by VIP in discovery, but never produced by JDPI, even though VIP made

 3   follow-up requests for such information and JDPI’s repeated assurance that its production

 4   was complete.
 5
           VIP respectfully requests the Court to exclude the untimely supplemental declaration
 6
     of Simonson and the untimely evidence disclosed by Epps, for the reasons stated herein, and
 7
     for the reasons stated by JDPI’s counsel at the Telephonic Discovery Dispute Conference.
 8
     II.   Procedural Background
 9

10         The Court’s Case Management Order, filed January 26, 2015 (Doc. 25), required

11   Defendant JDPI to provide full and complete expert disclosures no later than May 8, 2015.
12   Doc. 25 at 2. The Court’s June 16, 2015, Order extended JDPI’s deadline to disclose its
13
     rebuttal expert opinions on July 13, 2015. Doc. 63. The deadline for completion of fact
14
     discovery was July 3, 2015. Doc. 25 at 1. Long after these cutoff dates, and despite its
15
     repeated assurances that its production was not deficient, JDPI filed newly disclosed
16
     evidence in the Epps Declaration and supplemented its expert’s report with the Simonson
17

18   Declaration. For the following reasons, this new, previously undisclosed information should

19   be excluded.
20         A.       JDPI Submits the Untimely Epps Declaration
21
           On April 8, 2015, VIP served JDPI with its first set of non-uniform interrogatories
22
     (“NUI”), and requests for production (“RFP”). See RFP and NUI, copies of which are
23
     attached hereto as Exhibit 2. In them, VIP specifically requested documents regarding
24

25   consumer awareness of the Jack Daniel’s Brand. See RFP nos. 7 and 21, and in NUI, nos. 2

26
27
                                                  4
      Case 2:14-cv-02057-SMM          Document 133       Filed 11/13/15   Page 5 of 15




     and 4. Id. JDPI responded to the RFP on May 14, 2015 with general and specific objections,
 1

 2   but did not provide responsive documents. See JDPI’s Responses to RFP, attached hereto as

 3   Exhibit 3.

 4             VIP requested that JDPI supplement its discovery multiple times, and specifically
 5
     identified areas where JDPI’s production has been insufficient.         See Exhibit 4.   JDPI
 6
     responded by claiming that it did not view its production to be deficient in any way, and had
 7
     nothing further to produce. See Exhibit 5.
 8
               On October 23, 2015, JDPI moved for partial summary judgment. Doc. 101. In
 9

10   support of its argument that the Jack Daniels Trade Dress has acquired secondary meaning,

11   JDPI claimed that “Brown-Forman’s tracking studies confirm a very high level of awareness
12   for the Jack Daniel’s brand.” Id. at 10:27-28. The only support provided by JDPI for that
13
     “fact” is the Epps Declaration filed with the Motion. In paragraph five, the Epps Declaration
14
     states:
15
                     Brown-Forman does ongoing consumer tracking studies regarding the
16                   prompted (aided) and unprompted (unaided) awareness of Jack Daniel’s
                     Old No. 7 Tennessee whiskey. The aided awareness of the Jack Daniel’s
17
                     brand is consistently around 98% and the unaided awareness of the brand is
18                   consistently in the 80th decile, which I believe to be among the highest
                     levels of unaided awareness in the whiskey business.
19
     Doc. 105, ¶ 5. The Epps Declaration does not provide a copy of the referenced “consumer
20

21   tracking studies,” nor does Mr. Epps even attempt to identify or authenticate the alleged

22   studies. The so-called “tracking studies” is precisely the type of information that should have

23   been disclosed under the rules and in response to VIP’s NUI nos. 2 and 4 and RFP nos. 7 and
24   21. See Exhibit 2.
25

26
27
                                                     5
      Case 2:14-cv-02057-SMM        Document 133       Filed 11/13/15   Page 6 of 15




 1

 2          B.    JDPI Supplements the Report of its Expert, Dr. Simonson

 3          On May 8, 2015, JDPI served VIP the Expert Report of Dr. Itamar Simonson

 4   (“Simonson Report”).     VIP has repeatedly requested the documents relied upon by Dr.
 5
     Simonson in his report. Prior to Dr. Simonson’s deposition, counsel for VIP sent a subpoena
 6
     duces tecum to Dr. Simonson requesting the documents relied upon in forming the opinions
 7
     expressed in his report. See Exhibit 6. JDPI and Dr. Simonson refused to produce the
 8
     documents. By letter dated June 15, 2015, VIP’s counsel again requested the documents and
 9

10   reiterated JDPI’s obligations to produce those documents under the Rules. See June 15, 2015

11   Letter, a copy of which is attached hereto as Exhibit 7. Dr. Simonson never disclosed the
12   requested documents.
13
            On September 24, 2015, VIP moved to exclude the testimony of Defendant’s expert,
14
     Itamar Simonson because Dr. Simonson’s opinion lacks a sufficient objective, scientific basis
15
     and Dr. Simonson does not have specialized knowledge to support his opinions. Doc. 92. In
16
     its Opposition thereto, JDPI argued that Dr. Simonson’s opinions were admissible and
17

18   submitted the Simonson Declaration, which supplemented the Simonson Report with

19   previously undisclosed information purporting to set forth the basis for his “specialized
20   knowledge.” Doc. 97-1.
21
     III.   The Simonson Declaration and Epps Disclosure Should Be Excluded
22
            A.    The Simonson Supplemental Expert Declaration Should be Excluded
23
            It cannot be disputed that the Simonson Declaration constitutes an untimely
24

25   supplemental expert disclosure. This Court’s Case Management Order required Defendant

26
27
                                                   6
      Case 2:14-cv-02057-SMM         Document 133        Filed 11/13/15   Page 7 of 15




     JDPI to provide full and complete expert disclosures no later than May 8, 2015, Doc. 25, a
 1

 2   deadline later extended to July 13, 2015, Doc. 63, and cautioned that “absent extraordinary

 3   circumstances, parties will not be permitted to supplement expert reports after these dates.”

 4   Doc. 25 at 3. The information contained in the Simonson Declaration that JDPI seeks to use
 5
     to supplement Dr. Simonson’s expert report should have been disclosed to VIP prior to the
 6
     expert disclosure deadlines, or at least in response to VIP’s June 15, 2015 Letter requesting
 7
     “all the facts and data that Dr. Simonson considered in connection with forming the opinions
 8
     expressed in the Simonson Report.” See Exhibit 7. JDPI failed to do so, but instead filed the
 9

10   Simonson Declaration on October 12, 2015, more than three months after JDPI’s expert

11   disclosure deadline. Doc. 25.
12          Supplementing the Simonson Report, long after the expert disclosure deadlines and
13
     without requesting a modification of the Court’s scheduling order, violates Rule 16(b). Rule
14
     16(b) authorizes a district court to enter a scheduling order that limits or modifies the time to
15
     complete discovery, including “the times for disclosures under Rules 26(a) and 26(e)(l) and
16
     of the extent of discovery to be permitted.” FRCP 16(b)(4). Federal Rule of Civil Procedure
17

18   26(a)(2) governs the disclosure of expert witnesses and opinions and requires full disclosure

19   of the identity of the expert witness, “accompanied by a written report” that contains “a
20   complete statement of all opinions to be expressed and the basis and reasons therefore” and
21
     the “data or other information considered” by the witness. FRCP 26(a)(2)(B). Rule 16(b)
22
     provides that a scheduling order “shall not be modified except upon a showing of good cause
23
     and by leave of the district court[.]” Moreover, a party may not seek to modify a scheduling
24

25

26
27
                                                     7
      Case 2:14-cv-02057-SMM         Document 133        Filed 11/13/15   Page 8 of 15




     order by implication; it must “specifically request that the court modify its scheduling order.”
 1

 2   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 608 (9th Cir. 1992).

 3          Here, JDPI did not seek to modify the scheduling order or to extend its FRCP 26(a)(2)

 4   deadlines. Instead, JDPI simply filed the supplemental Simonson Declaration in support of
 5
     its Opposition. This Court should exclude JDPI’s new evidence on that ground alone. Id. at
 6
     608-09.
 7
            In addition, because JDPI never moved to modify the scheduling order, it necessarily
 8
     failed to establish “good cause,” and should not be permitted to do so now. In deciding
 9

10   whether “good cause” exists, “the focus of the inquiry is upon the moving party’s reasons for

11   seeking modification,” although the existence of prejudice to the “party opposing the
12   modification might supply additional reasons to deny a motion.” Id. at 609.
13
            Here, JDPI does not and cannot provide any explanation for why it did not disclose the
14
     information contained in the Simonson Declaration. JDPI did not address the reasons for the
15
     non-disclosure in its Opposition. JDPI never asserted that it had “good cause” for failing to
16
     comply with this court’s orders, or that the deadlines could not “reasonably be met despite
17

18   the diligence of the party seeking the extension.” Moreover, as this Court ruled in excluding

19   four images disclosed by VIP’s expert after the discovery cutoff, late expert disclosures are
20   prejudicial:
21
            With regard to the four images produced by the experts, they will not be
22          admissible. They will not be used. It’s a clear violation by the expert of his duties
            under Rule 26. And I know Judge Campbell covers this and I cover it ad nauseam
23          in my Rule 16 hearings that experts have to be told to comply with the rules. And
            if they get caught in a cross-examination they didn’t do something, they can’t now
24          say, oops, let me go back and do this all over again. That’s not right. He had a
25          duty to learn and understand what the parameters were in this case. If he’s a true
            expert and if it goes to his detriment, so be it. But they will not be available. The
26
27
                                                     8
      Case 2:14-cv-02057-SMM         Document 133        Filed 11/13/15   Page 9 of 15




            defendants will be prejudiced by these additional pieces of information, and I
 1          find that opening up discovery again to re-depose the expert, even at imposing
 2          the cost on the plaintiffs, would not be fair to the defendants and therefore, I find
            that they are not -- those are too late, too bad, and so sad.
 3
     See Transcript at 30:12-31:3 (emphasis added). The exact same analysis applies to JDPI’s
 4
     undisclosed supplemental expert declaration.
 5

 6          Because JDPI did not move to modify the court’s scheduling orders and did not

 7   provide “good cause” for its failure to timely supplement its expert’s report, this Court should

 8   exclude the supplemental Simonson Declaration. Federal Civil Rule 16(f) provides that if a
 9
     party or party’s attorney “fails to obey a scheduling or other pretrial order,” the judge, upon
10
     motion or the judge’s own initiative, “may issue any just orders, including those authorized
11
     by Rule 37(b)(2)(A)(ii)-(vii).” Federal Civil Rule 37(b)(2)(A)(ii) states that a district court
12
     may issue an order “prohibiting the disobedient party from supporting or opposing designated
13

14   claims or defenses, or from introducing designated matters in evidence.” The Ninth Circuit

15   has observed, in similar circumstances, that any sanction other than exclusion would render
16   meaningless both the federal rules and the powers of the district court to effectively manage
17
     its cases. See Wong, 410 F.3d at 1060.
18
            In Wong, the Ninth Circuit affirmed a district court’s refusal to allow a party to oppose
19
     summary judgment by relying on expert testimony that was disclosed after the scheduling
20

21   order deadlines. Unlike this case, the plaintiff in Wong at least attempted to justify the

22   untimely disclosure, stating that “he had not anticipated the [defendant’s] challenge” on a

23   particular issue. Both the district court and the Ninth Circuit rejected the plaintiff’s excuse,
24   noting that the
25

26
27
                                                     9
     Case 2:14-cv-02057-SMM         Document 133          Filed 11/13/15   Page 10 of 15




                   efficient treatment and resolution of cases . . . will be successful only if the
 1                 deadlines are taken seriously by the parties, and the best way to encourage
 2                 that is to enforce the deadlines. Parties must understand that they will pay a
                   price for failure to comply strictly with scheduling and other orders, and
 3                 that failure to do so may properly support severe sanctions and exclusions
                   of evidence.
 4
     Id.; see also Quevedo, 143 F.3d at 1258 (affirming exclusion of expert testimony filed for
 5

 6   first time in response to summary judgment motion because plaintiff “failed to justify his

 7   disregard for the Court’s [scheduling] Order”); Johnson, 975 F.2d at 610 (noting that a

 8   “scheduling order is not a frivolous piece of paper, idly entered, which can be cavalierly
 9
     disregarded by counsel without peril”) (citation omitted).
10
            The purpose of this court’s scheduling orders, Rule 16(b) and Rule 26(a), is to prevent
11
     the type of “trial by ambush” JDPI attempts here. For those orders and rules to have any
12
     meaning at all, this court should exclude the Simonson Declaration.
13

14          An additional, independent ground to exclude the Simonson Declaration is the

15   “automatic” exclusion provision of FRCP 37(c)(1).           A party that has failed to provide
16   information required by Rule 26(a) or 26(e) “is not allowed to use that information or witness
17
     to supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially
18
     justified or is harmless.”    Fed. R. Civ. P. 37(c)(1).        Rule 37(c) “gives teeth” to the
19
     requirements of Rule 26(a) and Rule 26(e) and courts are given wide latitude to issue
20

21   sanctions under Rule 37(c)(1). See Yeti by Molly, 259 F.3d at 1106 (holding district court did

22   not abuse its discretion in excluding testimony of defendant’s only damages expert as a

23   sanction). Generally, the exclusion penalty is “self-executing” and “automatic.” Hoffman v.
24   Constr. Protective Serv’s, Inc., 541 F.3d 1175, 1180 (9th Cir. 2008) (noting Rule 37(c)(1)’s
25

26
27
                                                     10
     Case 2:14-cv-02057-SMM         Document 133         Filed 11/13/15   Page 11 of 15




     exclusion sanction provides a strong inducement for disclosure of material and affirming
 1

 2   district court’s exclusion of undisclosed damages evidence).

 3          As noted, JDPI never attempted to demonstrate that its supplemental expert testimony

 4   was “substantially justified” or “harmless.” Nor could it. JDPI effectively provided a new
 5
     expert opinion for the first time in support of its Opposition, more than three months after
 6
     expert disclosures were due. If this Court were to admit this evidence, VIP would need time
 7
     to re-depose Simonson, and possibly draft new expert reports and new motions.             The
 8
     additional time and expense cannot be considered “harmless” to this Court or to VIP. Indeed,
 9

10   as this Court ruled during the Telephonic Discovery Dispute Conference, any late expert

11   disclosure prejudices the other party. See Transcript at 30:12 - 31:3; see also Wong, 410 F.3d
12   at 1062 (“Disruption to the schedule of the court and other parties in that manner is not
13
     harmless.”); Yeti by Molly, 259 F.3d at 1107 (holding disclosure of one expert report one
14
     month before trial was not justified or harmless, because plaintiffs “would have had to
15
     depose [the expert] and prepare to question him at trial”).
16
            The exact same analysis applies here. VIP respectfully submits that “automatic”
17

18   exclusion of the Simonson Declaration is the appropriate remedy.

19          B.     Paragraph Five of the Epps Declaration Should Be Excluded
20          In support of its Motion for Partial Summary Judgment (Doc. 101), JDPI submitted
21
     the Epps Declaration (Doc. 105). Mr. Epps is the Global Brand Director for Jack Daniel’s
22
     Tennessee Whiskey for Brown-Forman Corporation. Doc. 105 at ¶ 1. Despite the discovery
23
     cut-off, the Epps Declaration includes information on brand “awareness” studies that JDPI
24

25   could have, and should have disclosed during discovery in its response to VIP’s RFP nos. 7

26
27
                                                    11
     Case 2:14-cv-02057-SMM          Document 133            Filed 11/13/15   Page 12 of 15




     and 21, and NUI nos. 2 and 4. See Exhibit 2. VIP explicitly requested in RFP no. 7,
 1

 2   documents pertaining to “consumer recognition of the Jack Daniel’s Trade Dress[.]” Id. In

 3   RFP no. 21, VIP requested documents “in which [JDPI] intend[s] to rely to establish the

 4   extent of the actual recognition of the JACK DANIELS TRADE DRESS.” Id. In NUI no. 2,
 5
     VIP requested the identification of “all facts and information pertaining to whether the JACK
 6
     DANIELS TRADE DRESS … has acquired fame.” Id. In NUI no. 4, VIP requested the
 7
     identification of “all evidence in which [JDPI] intend[s] to rely to establish the extent of
 8
     actual recognition of the JACK DANIELS TRADE DRESS.” Id.
 9

10          JDPI responded to these requests with general and specific objections, and some

11   responsive documents, but no “ongoing” consumer tracking studies of brand “awareness.”

12   See Exhibit 3. VIP has requested that JDPI supplement its discovery multiple times, and has
13
     specifically identified areas where JDPI’s production has been insufficient. See Exhibit 4.
14
     JDPI responded by claiming that it did not view its production to be deficient in any way, and
15
     had nothing further to produce. See Exhibit 5.
16
            Yet, in his declaration, Mr. Epps states:
17

18                 Brown-Forman does ongoing consumer tracking studies regarding the
                   prompted (aided) and unprompted (unaided) awareness of Jack Daniel’s
19                 Old No.7 Tennessee whiskey. The aided awareness of the Jack Daniel’s
                   brand is consistently around 98% and the unaided awareness of the brand is
20                 consistently in the 80th decile, which I believe to be among the highest
21                 levels of unaided awareness in the whiskey business.

22   Doc. 105, ¶ 5. It cannot be disputed that the “consumer tracking studies” referenced in the

23   Epps Declaration was the type of information and documentation VIP explicitly requested in
24   discovery, not just in its initial requests for production and interrogatories, see Exhibit 2, but
25
     also in numerous follow-up letters. See Exhibit 4.
26
27
                                                        12
     Case 2:14-cv-02057-SMM          Document 133         Filed 11/13/15   Page 13 of 15




            As evidence withheld during discovery and disclosed after the discovery cut-off, the
 1

 2   information in paragraph five of the Epps Declaration should be excluded from the record.

 3   The rules do not permit JDPI to surprise VIP with new evidence offered in support of its

 4   partial summary judgment motion. Instead, JDPI was obligated to disclose such evidence
 5
     during fact discovery and in response to VIP’s discovery requests. See Fed. R. Civ. P.
 6
     37(c)(1) (stating that a party that fails to disclose information during discovery is “not
 7
     allowed to use that information . . . to supply evidence on a motion, at a hearing, or at a trial,
 8
     unless the failure was substantially justified or is harmless”); see also Cambridge Elec’s
 9

10   Corp. v. MGA Elec’s, Inc., 227 F.R.D. 313, 323-25 (C.D. Cal. 2004) (striking a declaration at

11   summary judgment where the facts in the declaration were not previously disclosed in
12   relevant interrogatory responses or supplementary interrogatory responses); Cargill Inc. v.
13
     Progressive Dairy Solutions, Inc., No. CV-F-07-0349-LJO-SMS, 2008 WL 2235354, at * 10
14
     (E.D. Cal. May 29, 2008) (striking declarations at summary judgment where there was a
15
     failure to disclose the statements at discovery or in supplementary interrogatory responses).
16
            JDPI should not be permitted to flout the rules and rely on evidence disclosed only in
17

18   support of its motion and long after the close of fact discovery. The information in paragraph

19   five of the Epps Declaration should be excluded from the record.
20                                             Conclusion
21
            Permitting JDPI to support its claims with information supplementing testimony and
22
     discovery after the discovery cutoff unfairly prejudices VIP, openly defies this Court’s
23
     Orders, and is contrary to the timely resolution of this matter. JDPI’s blatant defiance of
24

25   disclosure deadlines in this case, even after its counsel emphatically agreed with the Court

26
27
                                                     13
     Case 2:14-cv-02057-SMM          Document 133         Filed 11/13/15   Page 14 of 15




     that those “deadlines are real,” and its derelict representation that there were no deficiencies
 1

 2   in its discovery responses, walks dangerously close to, if it does not completely cross, the line

 3   of bad faith. For the reasons stated herein, VIP respectfully requests the Court to exclude the

 4   information in paragraph five of the Epps Declaration (Doc. 105) and the Simonson
 5
     Declaration in its entirety (Doc. 97-1).
 6
            RESPECTFULLY SUBMITTED this 13th day of November, 2015.
 7
                                                    DICKINSON WRIGHT PLLC
 8
                                                    By: s/David N. Ferrucci
 9
                                                        David G. Bray
10                                                      Frank G. Long
                                                        Jonathan S. Batchelor
11                                                      David N. Ferrucci
                                                        1850 North Central Avenue, Suite 1400
12                                                      Phoenix, Arizona 85004
13                                                      Attorneys for VIP Products, L.L.C.

14

15

16

17

18

19

20

21

22

23
24

25

26
27
                                                     14
     Case 2:14-cv-02057-SMM        Document 133         Filed 11/13/15   Page 15 of 15




 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on November 13, 2015, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to all CM/ECF registrants:

 5
                                       s/ C. Wheeler
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21
     PHOENIX 53913-11 258485v2
22

23
24

25

26
27
                                                   15
